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                                                                                 U.S. DISTRICT COURT

                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


 UNITED STATES OF AMERICA,
                                                      ORDER FOR THE GOVERNMENT TO
        Plaintiff,                                    RESPOND RE PROPERTIES INCLUDED
                                                      IN FORFEITURE TRIAL
 v.

 JACOB KINGSTON, ISAIAH KINGSTON,                     Case No. 2:18-cr-00365-JNP
 LEV DERMEN, RACHEL KINGSTON, and
 SALLY KINGSTON,                                      District Judge Jill N. Parrish

        Defendants.



        The court ordered the government to prepare a list of properties at issue in the forfeiture

phase of the jury trial and for defendant Dermen to respond to the proposed list. The government

complied and provided a list of proposed properties. In the filing, the government stated that it had

served a “Seventh Bill of Particulars” on Dermen. It appears that the government did not file the

Seventh Bill of Particulars with the court.

        In Dermen’s response to the proposed list, he stated that “Mr. Dermen elects to include the

entire list of properties listed in the government’s forfeiture bill at his jury trial.” But without access

to the Seventh Bill of Particulars, it is not clear to the court which properties Dermen is requesting

for inclusion in the jury trial.

        Accordingly, the court ORDERS the government to file the Seventh Bill of Particulars with

the court and to respond to Dermen’s request to include all of the properties on the list in the jury

trial. The government shall file its response by June 18, 2021.
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           DATED June 10, 2021.

                                   BY THE COURT



                                   ______________________________
                                   Jill N. Parrish
                                   United States District Court Judge




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